Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 1 of 6 PageID #: 79




                                       S/DLI
Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 2 of 6 PageID #: 80
Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 3 of 6 PageID #: 81
Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 4 of 6 PageID #: 82
Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 5 of 6 PageID #: 83
Case 1:07-cr-00782-DLI   Document 26   Filed 07/01/08   Page 6 of 6 PageID #: 84
